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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

GENUINE ENABLING                    )
TECHNOLOGY LLC,                     )
                                    )
        Plaintiffs,                 )      Civil Action No. 1:17-cv-00134
                                    )
v.                                  )      JURY TRIAL DEMANDED
                                    )
NINTENDO CO., LTD. and              )
NINTENDO OF AMERICA INC.            )
                                    )
        Defendants.
                                    )
                                    )

                       DECLARATION OF KRISTOPHER KIEL




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        I, Kristopher Kiel, declare:

        1.         Unless otherwise indicated, I make this declaration on the basis of personal

knowledge, and if called to testify as a witness, I would and could testify competently hereto.

        2.         I am Senior Corporate Counsel at Nintendo of America Inc. (“NOA”). I make

this declaration in support of Nintendo’s Motion to Transfer Venue to the Western District of

Washington and NOA’s Motion to Dismiss or Transfer.

        3.         NOA is a Washington company with its principal place of business in Redmond,

Washington. NOA is responsible for importing, marketing, selling, and distributing Nintendo

products in the United States. NOA is a wholly-owned subsidiary of Nintendo Co., Ltd.

(“NCL”).

        4.         NCL is a Japanese company with its headquarters in Kyoto, Japan. NCL

employees in Japan develop Nintendo’s video-game systems and peripherals, including the Wii

Remote. The Wii Remote was designed and developed in Japan. NCL’s design documents, and

most development-related documents, are in Japan. NCL maintains technical documents relating

to the development of the Wii Remote. NCL does not operate an office in Delaware, employ

anyone in Delaware, or maintain any files in Delaware.

        5.         NOA is responsible for importing, marketing, selling, and distributing Nintendo

products in the United States. NOA has roughly 1,113 employees, 1,025 of which work in one

of NOA’s facilities in Washington (Redmond and North Bend). Approximately 908 of NOA’s

employees work at NOA’s Redmond, Washington headquarters.

        6.         NOA’s Redmond headquarters is the strategic center of NOA’s business. Most

decisions relating to NOA’s overall business strategy are made in Redmond, and key sales and

marketing decisions about the sale of Nintendo’s products in the United States also generally


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occur in Redmond. Documents relevant to this case are located in Redmond, including

documents relating to importation, finance, sales, designs for manuals and product packaging,

licensing, contracts and agreements, advertising, and marketing related to the accused Nintendo

Products. The versions of product manuals, instruction manuals, marketing materials, and other

consumer-facing documents that are prepared for the United States market are created in

Redmond, Washington and, to a lesser extent, in Redwood City, California. There are also

technical documents relating to the Wii Remote in Redmond, but the majority of technical

documentation is in Japan. NOA also has an office in Redwood City, California, where its

Senior Vice-President of Marketing is based. Implementation of marketing plans is handled out

of Redwood City.

        7.         Neither NOA nor NCL (nor any company or organization owned by either) has

any facilities, property, offices, or employees in Delaware. NOA has a subsidiary, NES

Merchandising, Inc. (“NMI”), which is a Nevada corporation based on the West Coast. NMI

supports NOA’s retail sales throughout the United States, including Delaware. But NMI does

not possess any documents uniquely relevant to this action, or employ anyone with knowledge

relevant to this action. Like NOA and NCL, NMI does not have any facilities, property, offices,

or employees in Delaware. NCL has a French subsidiary called Nintendo European Research &

Development SAS (“NERD SAS”) (formerly known as Mobiclip, which was formerly known as

Actimagine). Prior to 2016, an affiliate of NERD SAS called NERD Inc. was incorporated in

Delaware. In 2016, NERD Inc. was merged into Nintendo Technology Development Inc.

(“NTD”), which is (and was) a Washington corporation. NTD was the surviving entity of that

merger. It is my understanding that NERD Inc. had no employees or offices in Delaware and

that all of the work was performed out of France and elsewhere. It is my understanding that



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counsel for Genuine Enabling Technology LLC (“GET”) has inquired regarding Nintendo

Services USA, Inc., which was incorporated in Delaware. Nintendo Services USA, Inc. was a

subsidiary of NCL relating to retail sales of Pokémon products in New York, but Nintendo

Services USA, Inc. was dissolved in 2005. It is my understanding that counsel for GET has also

inquired regarding The Nintendo Source Corporation. To the best of my knowledge, The

Nintendo Source Corporation is not (and was not) related to NOA or NCL.

        8.         To the contrary, NOA’s employees who may possess knowledge relevant to this

case are located primarily in Washington and, in one instance, Northern California. In particular,

potential witnesses from NOA in this case of whom I am aware include:

        Rod Teuber. Mr. Teuber is the Corporate Comptroller for NOA. Mr. Teuber coordinates
        Nintendo’s financial reporting activities, assuring proper financial reporting and
        compliance with generally accepted accounting principles. Mr. Teuber has knowledge
        about sales and distribution of Nintendo’s products in the United States, including such
        knowledge about the Wii Remote. Mr. Teuber works at NOA’s Redmond headquarters.

        Chris Guinn. Mr. Guinn is Senior Patent Counsel for NOA. Mr. Guinn has knowledge
        of Nintendo’s patent licensing practices. Mr. Guinn works at NOA’s Redmond
        headquarters.

        Nicolas Chavez. Mr. Chavez is Senior Director of Consumer Marketing for NOA. Mr.
        Chavez has knowledge of the sales and marketing efforts NOA undertakes in the United
        States to sell its products, including the Wii Remote. Mr. Chavez works in NOA’s
        Redwood City office.

        9.         Trial in the Western District of Washington would be much more convenient and

cost effective for NOA employees than trial in Delaware. NOA’s headquarters in Redmond,

Washington is roughly 13 miles from the Federal District Court in Seattle, which is

approximately a thirty-minute drive. Witnesses could make an easy trip to court in the Western

District of Washington, and would not have to be away from their work or families for an

extended period of time, as they would be if trial takes place in Delaware. A trial in the Western

District of Washington would be less disruptive for their work schedules. Traveling to Delaware


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would be much more inconvenient and costly because NOA witnesses could not make day trips

to and from Delaware, and would not have a place to work if required to stay in Delaware for

extended periods of time. Trial in the Western District of Washington would also be much more

convenient for witnesses from its Redwood City, California offices. Not only would it be closer

to their homes, but they could use the Redmond headquarters as a base of operations while they

are away from home.

        10.        Additionally, NCL employees from Japan may possess knowledge related to the

design and development of the accused Nintendo Products. Potential witnesses in this case from

NCL of whom I am aware include:

        Haruki Tojo. Mr. Tojo is a software engineer in the Programming Management Group at
        NCL. Mr. Tojo was involved in the development of the Wii system, including the Wii
        Remote. In particular, Mr. Tojo was involved in the development of the Software
        Development Kit used by game developers to interact with the Wii Remote. He lives in
        Japan.

        Kuniaki Ito. Mr. Ito is a hardware engineer in the Electrical Engineering group at NCL.
        Mr. Ito was involved in the development of the Wii system, including the Wii Remote.
        In particular, Mr. Ito was involved in the creation of specification documents used to
        create the Wii Remote. This includes knowledge regarding the Bluetooth controller used
        in the Wii Remote. He lives in Japan.

        11.        Appearing for trial in the Western District of Washington would be much more

convenient and cost effective for NCL employees than trial in Delaware. Seattle is closer to

Japan and more convenient than travel to Delaware. Nonstop flights are available from Tokyo to

Seattle. However, there are no nonstop flights from Tokyo to Philadelphia. Further, if trial were

held in the Western District of Washington, NCL witnesses could use NOA’s headquarters in

Redmond as a base of operations while they are away from home. Thus, their work schedule

would not be disrupted as much by a trial in the Western District of Washington.




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